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 WWIDEH: USAO # 2017R00827



                              IN THE UNITED STATES DISTRICT COUll;/)                   HOY 30 PI; 2: 51
                                  FOR THE DISTRICT OF MARYLAND
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UNITED STATES OF AMERICA                                    Criminal No,
                                                                                      --l/V-               ~'(
                                                                                CC.6- li-DU?J't
                      v,                                    (Destruction, Alteration, or Falsification of
                                                            Records in Federal Investigations, 18 U.S,c.
WAYNE EARL JENKINS,                                         ~ 1519; Deprivation of Rights Under Color of
                                                            Law, 18 U.S,c. ~ 242; Aiding and Abetting,
                              Defendant.                    18 U.S,c. ~ 2)


                                                 INDICTMENT

          The Grand Jury for the District of Maryland charges that at all times relevant to this

 Indictment:

                                                  COUNT ONE
          (Destruction,      Alteration,   or Falsification of Records in Federal Investigations)

           I.       The Baltimore Police Department ("BPD") is an agency of the State of Maryland

 whose law enforcement jurisdiction includes Maryland's largest city, Baltimore.

          2.        Sworn members of the BPD must abide by the Law Enforcement Officer's Code

 of Ethics, which provides, in pertinent part:

                    As a Law Enforcement Officer, my fundamental duty is to serve the
                    community; to safeguard lives and property; to protect the innocent
                    against deception, the weak against oppression or intimidation; the
                    peaceful against violence or disorder; and to respect the
                    constitutional rights of all to liberty, equality and justice. Honest in
                    thought and deed both in my personal and official life, I will be
                    exemplary in obeying the law and the regulations of my department
                    ... I recognize the badge of my office as a symbol of public faith
                    and I accept it as a public trust to be held so long as I am true to the
                    ethics of police service.

          3.        WAYNE EARL JENKINS joined the BPD on February 20. 2003 and became a

 police ofticer. JENKINS was promoted to Detective on November 30, 2012, and to Sergeant on

 October 14,2013.
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        4.         On April 28, 20 I0, JENKINS, driving an unmarked BPD vehicle with Officer #2

as his passenger, and Officer # I, who was also driving an unmarked BPD vehicle, engaged in a

vehicle pursuit of a car driven by U.B. B.M. was a passenger in the car driven by U.B.

        5.         At the intersection of Belle Avenue and Gwynn Oak Avenue, U.B., who was

driving at a high speed, struck a car entering the intersection. The impact of the collision was so

great that the car was pushed onto the front porch of a row house on the Southeast corner of the

intersection.     The car was operated by an elderly man and his wife was a passenger. The elderly

driver was trapped in the car after the collision and died later that day.

        6.         There were no drugs in the car driven by U.B. prior to the crash.

        7.         After the crash, and after U.B. and B.M. had been arrested, JENKINS told Officer

#2 to call a Sergeant who was not at the scene because he had the "stuff' or "shit" in his car, or

words to that effect.

        8.         Officer #2 called the Sergeant but the conversation was brief because the Sergeant

had arrived at the scene, having heard Officer #2's request for assistance on the police radio.

        9.         After speaking with the Sergeant, Officer #2 turned his attention to the elderly

driver who remained trapped inside his car on the front porch of the row house. After emergency

medical personnel arrived on the scene, Ofticer #2 returned to JENKINS who was standing near

U.B. and B.M:s car.

         10.       At that time, JENKINS told Officer #2 that the "stuff' or "shit" was in the car,

referring to U.B. and B.M:s car, and that JENKINS was going to send Officer #1 to the car to

find it because Officer #1 was "clueless", or words to that effect.

         I I.      Sometime later, Officer #2 saw Officer # I searching the car. Officer # I signaled

that he had found something.



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        12.    Officer #1 found approximately 28 grams of heroin that JENKINS had planted in

the vehicle.

        13.    Later that day, JENKINS authored a false Statement of Probable Cause where he

claimed that "32 individually wrapped pieces of plastic containing a tan powder substance each

weighing approximately one gram (all of which was suspected high purity heroin)" was

recovered from U.B.'s car by Officer #1, when in truth and lact, JENKINS knew the heroin in

U.B. 's car had been planted. JENKINS, signed the report under an affirmation that declared, "I

SOLEML Y AFFIRM UNDER PENALTIES OF PERJURY THAT THE MA TIERS AND

FACTS SET FORTH IN THE FOREGOING DOCUMENT ARE TRUE TO THE BEST OF

MY KNOWLEDGE, lNFORMA nON AND BELIEF."

        14.    Following the incident, JENKINS listencd to recorded jail calls of U.B. and B.M.

JENKINS told Officer #2 that they were saying that the heroin recovered from the car had been

planted on them. JENKINS told Officer #2 that JENKINS could not testify if the case went to

tria! because, "something had been put in the car" or words to that effect, referring to the heroin

that had been planted in U.B.'s car.

        15.    U.B. and B.M. were subsequently charged with, and imprisoned for, federal drug

charges for the heroin that had been planted in U.B.'s car.

        16.    Between in or about April 28, 20 I0, and the date of this Indictment, in the District

of Maryland and elsewhere, the defendant

                                   WAYNE EARL JENKINS

knowingly concealed, covered up and falsified and made false entries in an official Statement of

Probable Causc in the District Court of Maryland for Baltimore City reflecting his actions, and

the actions of his fellow Baltimore Police Department officers, in relation to the seizure of heroin

from an automobile operated by U.B. and in which B.M. was a passenger on April 28, 2010,
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with the intent to impede, obstruct and influence the investigation and proper administration of

that matter, a matter within the jurisdiction of the United States Drug Enforcement

Administration, a department and agency of the United States, or in relation to or contemplation

of any such matter or case.

18 U.S.C.   S   1519




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                                           COUNT TWO
                           (Deprivation   of Rights Under Color of Law)

The Grand Jury for the District of Maryland further charges that:


        I.       Paragraphs I through 15 of Count I are realleged and incorporated herein.

       2.        Between in or about April 28, 2010, and in or about August 31,2017, in the

District of Maryland, and elsewhere, defendant

                                    WA YNE EARL JENKINS

while acting under color of law, willfully deprived U.B. of the right, secured and protected by the

Constitution and laws of the United States, to be free from the deprivation of liberty without due

process of law, which includes the right to be free from incarceration due to the fabrication of

evidence by a law enforcement officer. Specifically, on April 28, 2010, the defendant submitted

a false Statement of Probable Cause in which he claimed that drugs had been recovered from

U.B.'s car, even though the defendant knew that the drugs were planted in the car; thereafter, the

defendant failed to correct his false statement during U.B.'s incarceration, which lasted until

August 31, 2017.

18 U.S.C.    S 242
18 U.S.C.    S2




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                                         COUNT THREE
                            (Deprivation of Rights Under Color of Law)

       The Grand Jury for the District of Maryland further charges that:


        I.        Paragraphs I through 15 of Count I are realleged and incorporated herein.

       2.         Between in or about April 28, 2010, and on or about September 9, 2013, in the

District of Maryland, and elsewhere, defendant

                                     WAYNE EARL JENKINS

while acting under color of law, willfully deprived B.M. of the right, secured and protected by

the Constitution and laws of the United States, to be free from the deprivation of liberty without

due process of law, which includes the right to be free from incarceration due to the fabrication

of evidence by a law enforcement officer. Specifically, on April 28, 2010, the defendant

submitted a false Statement of Probable Cause in which he claimed that drugs had been

recovered from a car in which B.M. was a passenger, even though the defendant knew that the

drugs werc planted in the car; thereafter, the defendant failed to correct his false statement during

B.M.'s incarceration, which lasted until September 9, 2013.

18 U.S.c.    S 242
18 U.S.C.    S2




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                                          COUNT FOUR
                          (Deprivation   of Rights Under Color of Law)

       The Grand Jury for the District of Maryland further charges that:


        I.      Paragraphs I through 15 of Count 1 are realleged and incorporated herein.

        2.      Between in or about February 10, 20 II, and on or about August 31, 2017, in the

District of Maryland, and elsewhere, defendant

                                    WAYNE EARL .JENKINS

while acting under color oflaw, willfully deprived U.B. of the right, secured and protected by the

Constitution and laws of the United States, to be free from the deprivation of liberty without due

process of law, which includes the right to be free from incarceration due to a law enforcement

officer's willful failure to disclose exculpatory evidence to a prosecutor. Specifically, the

defendant willfully violated his ongoing obligation to disclose to a prosecutor the fact that he had

lied in a Statement of Probable Cause that he knew would be relied upon, and that was in fact

relied upon, to detain U.8.

18 U.S.C. ~ 242
18 U.S.c. ~ 2




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                                         COUNT FIVE
                           (Deprivation of Rights Under Color of Law)

       The Grand Jury for the District of Maryland further charges that:


        1.       Paragraphs I through 15 of Count I are realleged and incorporated herein.

       2.        Between in or about February 10,20 II, and on or about September 9, 2013, in the

District of Maryland, and elsewhere, defendant

                                    WAYNE EARL JENKINS

while acting under color of law, willfully deprived B.M. of the right, secured and protected by

the Constitution and laws of the United States, to be free from the deprivation of liberty without

due process oflaw, which includes the right to be free from incarceration due to a law

enforcement onicer's willful failure to disclose cxculpatory evidence to a prosecutor.

Specifically, the defendant willfully violated his ongoing obligation to disclose to a prosecutor

thc fact that he had lied in a Statement of Probable Cause that he knew would be relied upon, and

that was in fact relied upon, to detain B.M.

18 U.S.C.    S 242
18 U.S.c.    S2




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                                               STEPNM:ScHENNn~~'                              7!d"2J
                                               ACTING UNITED STATES ATTORNEY


A TRUE BILL:

                                               SIGNATURE REDACTED
                                                                    '-
                                               Foreperson

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